Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 1 of 25 PageID #: 5914



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  DEREK S. TISLOW,                             )
  ANDREW J. DOLLARD,                           )
  YVONNE S. MORGAN,                            )
  CASSY L. BRATCHER,                           )
  JOSEPH A. MACKEY,                            )
  JESSICA CALLAHAN,                            )
  ERIC W. LEY, and                             )
  FELICIA REID,                                )
                                               )
                           Plaintiffs,         )
                                               )
                        v.                     )   1:16-cv-01721-RLY-MJD
                                               )
  GARY WHISENAND,                              )
  CITY OF CARMEL,                              )
  AARON DIETZ, and                             )
  THE UNITED STATES, Acting by and             )
  through its Drug Enforcement Administration, )
                                               )
                           Defendants.         )
                                               )
                                               )
  HAMILTON COUNTY PROSECUTOR'S                 )
  OFFICE,                                      )
                                               )
                           Interested Party.   )


  LARRY LEY,                                   )
  RONALD VIERK,                                )
  GEORGE AGAPIOS, and                          )
  LUELLA BANGURA,                              )
                                               )
                            Plaintiffs,        )
                                               )
                       v.                      )   1:16-cv-01908-RLY-MJD
                                               )
  GARY WHISENAND,                              )
  CITY OF CARMEL,                              )
                                           1
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 2 of 25 PageID #: 5915



  AARON DIETZ, and                         )
  UNITED STATES, Acting by and through its )
  Drug Enforcement Administration,         )
                                           )
                        Defendants.        )
                                           )
                                           )
  HAMILTON COUNTY PROSECUTOR'S             )
  OFFICE,                                  )
                                           )
                        Interested Party.  )

                 ENTRY ON MOTIONS FOR SUMMARY JUDGMENT

         In August of 2013, law enforcement officials began investigating Dr. Larry Ley

  and his two addiction treatment companies, Living Life Clean, LLC (“Living Life”) and

  Drug Opiate Recovery Network, Inc. (“DORN”), after the death of one of his patients.

  The investigation uncovered several complaints related to Dr. Ley’s treatment and

  prescribing of Suboxone, a drug used to treat opiate addictions. The investigation

  eventually culminated into twelve separate arrests and a media firestorm. As successful

  as the investigation was for law enforcement, the ensuing prosecution was anything but:

  several of the charges were dismissed early on and then the state trial court acquitted Dr.

  Ley of all charges. In the face of these results, the prosecutor dismissed the remaining

  charges against the rest of the defendants.

         Now in this court, Dr. Ley and his former staff seek redress for the government’s

  failed prosecution. They allege law enforcement falsely arrested and maliciously

  prosecuted them resulting in the destruction of their careers and reputations. Gary

  Whisenand, Aaron Dietz, the City of Carmel, and the United States (collectively

  “Defendants”) have all moved for summary judgment. As will be explained below,
                                                2
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 3 of 25 PageID #: 5916



  probable cause supports the warrants used in connection with Plaintiffs’ arrests.

  Defendants therefore are entitled to summary judgment.

  I.     Background

         A.      Dr. Ley and the DORN Clinic

         This case primarily concerns Dr. Ley’s treatment of opiate addicts. Dr. Ley

  graduated from medical school in 1971 and has worked in a variety of medical capacities

  around central Indiana. (Filing No. 184-30, Deposition of Larry Ley (“Ley Dep.”) at

  9:21 – 10:24). 1 He is board certified in addiction medicine by the American Society of

  Addiction Medicine. (Id. at 12:20 – 13:6; 14:5 – 8). In 2002, he founded Living Life, a

  company dedicated to treating alcohol abuse. (Id. at 14:21 – 24; 15:12 – 15). Dr. Ley

  operated Living Life out of four offices located throughout central Indiana: Centerville, 2

  Noblesville, Muncie, and Kokomo. (Id. at 14:9 – 13). Shortly after creating Living Life,

  Dr. Ley began prescribing Suboxone, which is a drug used to treat opiate addictions. (Id.

  at 15:23 – 25; see also Filing No. 184-1, National Drug Intelligence Center Bulletin at 1 –

  2).

         A few years later, Dr. Ley decided to expand his practice. In 2007, Dr. Ley

  changed the name of Living Life to DORN. (Ley Dep. at 16:14 – 22). He opened an

  office in Carmel, Indiana, and he continued operations at the four other satellite offices

  throughout the state. (Id. at 16:13 – 15; 18:11 – 14). Dr. Ley would see all patients for



  1
    Because of the overlap in evidence, the court cites evidence only from Tislow et al. v.
  Whisenand et al., No. 1:16-cv-01721-RLY-MJD.
  2
    It appears that the Centerville office is sometimes referred to as the Richmond office.
                                                   3
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 4 of 25 PageID #: 5917



  their initial consultation at the Carmel office. (Id. at 18:22 – 25). For follow up

  appointments, patients were then assigned to the office located closest to their home. (Id.

  at 14:14 – 20; 19:1 – 9). Dr. Ley primarily worked at the offices located in Carmel,

  Noblesville, and Muncie. (Id. at 20:23 – 21:3). Other physicians staffed the satellite

  offices: Dr. Ronald Vierk worked at the Centerville location; Dr. Luella Bangura worked

  at the Kokomo location; and Dr. George Agapios worked at the Carmel location on

  Saturdays. (Id. at 20:14 – 22).

         Several support staff assisted the DORN clinics. Yvonne Morgan assisted at the

  Muncie and Carmel clinics and directed the Centerville clinic. (Filing No. 159-41,

  Deposition of Yvonne Morgan at 16:25 – 17:6). She performed clerical work for DORN:

  answered the phone, conducted drug screens, and handed patients their prescriptions. (Id.

  at 18:4 – 14). Derek Tislow worked at the Noblesville, Carmel, and Kokomo offices.

  (Filing No. 159-46, Deposition of Derek Tislow at 49:2 – 5). He conducted urine

  screens, handed out prescriptions, and took cash. (Id. at 50:10 – 22). Eric Ley helped

  manage the Carmel and Kokomo offices. (Filing No. 159-47, Deposition of Eric Ley at

  23:24 – 24:4). Felicia Reid assisted at the Kokomo office by seeing patients for their

  biweekly appointments on Wednesdays, and Joseph Mackey helped by monitoring the

  crowds in the parking lot. (Filing No. 159-40, Deposition of Felicia Reid at 15:11 – 23;

  Filing No. 159-42, Deposition of Joseph Mackey at 10:3 – 21). Jessica Callahan

  managed the Muncie office, and Cassy Bratcher managed the Carmel office. (Filing No.

  159-43, Deposition of Jessica Callahan at 13:4 – 12; Filing No. 159-45, Deposition of

  Cassy Bratcher at 17:21 – 22). Andrew Dollard managed the Noblesville office. (Filing

                                               4
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 5 of 25 PageID #: 5918



  No. 159-44, Deposition of Andrew Dollard at 20:9 – 12). Part of his tasks included

  handing out prescriptions even when no doctors were present. (Id. at 26:12 – 15).

         B.      Controlled Substance Laws

         The state of Indiana, like the rest of states, criminalizes dealing in a controlled

  substance. See Ind. Code § 35-48-4-2. Under Indiana law, any “person who: (1)

  knowingly or intentionally . . . (C) delivers; or (D) finances the delivery of; a controlled

  substance . . . classified in schedule I, II, or III . . . commits dealing . . . a level 6 felony.”

  Id. Buprenorphine, the primary drug component in Suboxone, is a Schedule III drug.

  Ind. Code § 35-48-2-8(e)(7). Indiana law proscribes unlawful conspiracies and corrupt

  business influence. See Ind. Code § 35-41-5-2 (conspiracy statute); see Ind. Code § 35-

  45-6-2 (RICO statute).

         Indiana also limits the prescribing authority of medical practitioners in several

  ways. Medical practitioners must have a legitimate medical purpose when issuing

  prescriptions for controlled substances. 856 Ind. Admin. Code 2-6-3(a). They must issue

  only a quantity that is necessary and must also be acting in the usual course of their

  professional practice. Id. Practitioners that issue prescriptions for controlled substances

  outside the scope of their professional practice or without a legitimate medical purpose

  are subject to the state’s criminal laws related to controlled substances. Id.; see also

  Alarcon v. State, 573 N.E.2d 477, 480 (Ind. Ct. App. 1991) (holding Indiana’s dealing

  statutes apply to licensed physicians who issue unlawful prescriptions). Additionally,

  physicians may not provide controlled substances to a person whom they have never

  personally examined or diagnosed subject to a few exceptions. See 844 Ind. Admin.

                                                   5
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 6 of 25 PageID #: 5919



  Code 5-4-1(a). Prescriptions for controlled substances must ordinarily be signed and

  dated on the day when issued. 856 Ind. Admin. Code 2-6-4(a).

         The federal government also regulates a physician’s prescribing of controlled

  substances. The Drug Addiction Treatment Act of 2000 (“DATA”) limits the number of

  patients a physician may treat with buprenorphine for addiction. See Drug Addiction

  Treatment Act of 2000, Pub. L. No. 106-310, 114 Stat. 1222 (codified in 21 U.S.C. §

  823(g)). During the relevant time frame, newly certified providers could treat thirty

  patients, and after one year, providers could treat up to one-hundred patients. Id.; see

  also Alan Gordon & Alexandra A. Gordon, Does it Fit?—A Look at Addiction,

  Buprenorphine, and the Legislation Trying to Make It Work, 12 J. HEALTH &

  BIOMEDICAL L. 1, 15 – 17 (2016) (discussing DATA’s physician requirements and

  regulations). The cap only applies to addiction patients: those being treated for an off-

  label use, such as pain, are not counted towards the one-hundred patient limit. (See Filing

  No. 153-2, Probable Cause Affidavit (“PC Aff.”) at ¶ 25(b); see also Ley Dep. 26:10 –

  17; 51:6 – 52:3).

         C.     The Investigation

         In August of 2013, the Madison County Deputy Coroner contacted the Carmel

  Police Department to discuss the death of one of Dr. Ley’s patients. (Filing No. 159-35,

  Deposition of Sergeant Marc Klein (“Klein Dep.”) at 15:19 – 21). The Coroner informed

  Sergeant Marc Klein that the Deceased’s family expressed concerns about the care that

  Dr. Ley provided to the Deceased. (Klein Dep. at 16:5 – 17; see also Filing No. 159-37,

  Deposition of Gary Whisenand (“Whisenand Dep.”) at 18:5 – 17). The Madison County

                                               6
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 7 of 25 PageID #: 5920



  Deputy Coroner also contacted Adam Deitz regarding the death. (Filing No. 159-36,

  Deposition of Adam Deitz (“Deitz Dep.”) at 13:20 – 14:7). At the time, Deitz oversaw

  special investigations and worked as the director of the Hamilton/Boone County Drug

  Task Force. (Id. at 9:17 – 20).

         Both Deitz and Klein began investigating Dr. Ley and DORN based on the

  information from the Deceased’s family. Deitz coordinated information between Carmel

  Police Department and the Drug Enforcement Administration (“DEA”). (Id. at 15:1 – 4).

  Eventually, Sergeant Klein and DEA Agent Dan Gillen scheduled an interview with the

  Deceased’s family. (Id. at 17:9 – 16).

         The family explained that the Deceased had gone to Dr. Ley’s office for six years

  to try and get help for his addiction problems. (Id. at 19:2 – 6). The family further

  explained that they had some concerns with Dr. Ley’s treatment of the Deceased: he

  rarely went into the office, he wasn’t being seen by Dr. Ley, other family members would

  pick up prescriptions for him, and he always paid in cash. (Id. at 20:1 – 7).

         Around the same time as the interview, DEA began receiving complaints about

  DORN’s practice. The complaints focused on the lack of medical care provided to

  patients and the ease with which patients could receive prescriptions for Suboxone

  without being seen by a DORN physician. (Filing No. 159-2, Nov. 15, 2013 Report of

  Investigation (“ROI”) at 1). Based on the interview and complaints, on November 15,

  2013, DEA opened an investigation into Dr. Ley and DORN. (Id.). The case was

  assigned to Gary Whisenand, a diversion investigator within DEA. (Whisenand Dep. at

  25:18 – 23).

                                               7
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 8 of 25 PageID #: 5921



          Whisenand began investigating past complaints about DORN from practitioners,

  pharmacists, and former patients. (See Filing No. 159-3, Nov. 26, 2013 ROI at 1; see

  also Filing No. 159-6, Dec. 2, 2013 ROI). Many, if not all, of the complaints criticized

  Dr. Ley and DORN for not providing any medical treatment and simply writing

  prescriptions for Suboxone. (See Nov. 26, 2013 ROI at 1 – 4). One complaint alleged

  that Dr. Ley and DORN prescribed Suboxone without a full medical evaluation:

          [Patient Jane Doe] claimed that on her initial visit, she and a few others
          received a few papers and a 15-minute group lecture from Dr. Ley. During
          the lecture, Ley asked each person what drug they were currently abusing.
          After paying $300 cash, Dr. Ley issued [Doe] a Suboxone prescription. Per
          [Doe], Ley did not conduct an exam nor was a urinalysis administered.
          Afterwards, [Doe] was scheduled to go to the DORN clinic in Centerville,
          Indiana, for a refill. [Doe] wrote “I think Dr. Ley should not be prescribing
          Suboxone! I would like to have the $300 back that I had to pay for him to do
          nothing more than give me a prescription.”

  (Id. at 3 (citing Indiana Attorney General Consumer Complaint Form date 12/14/11).

  Physicians too expressed concern about Dr. Ley’s practice:

          The physicians expressed concern to Investigators about the lack of medical
          care that Dr. Ley appeared to provide to addiction treatment patients. One
          physician noted that Dr. Ley operated carelessly as he did not usually conduct
          in-person follow-up visits with his chemically dependent patients. Another
          physician associated Dr. Ley with not providing adequate patient care and
          being more focused on profits rather than his patient’s well-being.

  (Id. at 1).

          Several complaints also targeted Dr. Ley’s satellite offices and the other

  practitioners. (See e.g. Filing No. 159-4, Dec. 18, 2013 ROI at 1). For example, law

  enforcement interviewed several Walgreen’s pharmacists practicing in Kokomo, Indiana

  and heard similar complaints about DORN:


                                                8
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 9 of 25 PageID #: 5922



          Pharmacists advised that a large number of Suboxone prescriptions
          originated from Dr. Ley’s Kokomo practice every other Wednesday night.
          Per [p]harmacist[]s, on Wednesday nights, people “were lined up down the
          street” to obtain their prescriptions. Additionally, Walgreen’s pharmacists
          had received the following complaints from patients about the practice:

                 a) patients wait up to [90 minutes] to see the doctor.
                 b) Patients were given a prescription but not evaluated medically.
                 c) Buprenorphine or Suboxone prescriptions were being written for
                 “chronic pain.”
                 d) Only cash was accepted at the practice.
                 e) Unlike most practices, this medical practice was only open during
                 the evening.

  (Filing No. 159-4, Dec. 18, 2013 ROI at 1). Whisenand’s review included a complaint

  from a Kokomo police officer who had worked security for DORN at the Kokomo office:

          Officer VanCamp stated that he never saw Dr. Ley at the Kokomo practice,
          only a female provider. Officer VanCamp further stated that there were
          “hundreds” of patients and all night long there was a line of up to 100 people
          waiting. Officer VanCamp believed he was hired for security to prevent
          robberies due to the business being cash only and to deal with disgruntled
          patients. After his first night of working security, Officer VanCamp stated he
          felt the practice was “sketchy” and opted to no longer work security for this
          practice.

  (Id. at 2).

          These complaints led Whisenand to conduct research on INSPECT, Indiana’s

  Prescription Monitoring Program. (See Filing No. 159-7, Dec. 9, 2013 ROI). INSPECT

  is an online database that allows law enforcement to monitor the prescribing of controlled

  substances. See generally Lundy v. State, 26 N.E.3d 656, 658 – 59 (Ind. Ct. App. 2015)

  (describing INSPECT more thoroughly). INSPECT revealed that each DORN physician

  issued a high number of Suboxone prescriptions in the years 2011, 2012, and 2013. (See

  Dec. 9, 2013 ROI (Dr. Ley)); Filing No. 159-8, Jan. 14, 2014 ROI (Dr. Agapios)); Filing


                                                9
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 10 of 25 PageID #: 5923



   No. 159-9, Jan. 23, 2014 ROI (Dr. Vierk)); Filing No. 159-10, January 27, 2014 ROI (Dr.

   Bangura)).

          Part of the investigation also involved patient interviews and DEA-authorized

   surveillance of all four DORN offices. (PC Aff. ¶¶ 24, 39). On Dec. 16, 2013, a DEA

   task force officer interviewed a current DORN patient who described the environment at

   the Kokomo clinic:

          [Patient] informed the TFO that he has been a DORN patient for the past
          three years and that patients at the Kokomo office were coming from as far
          away as South Bend, Indiana. [Patient] stated that (sic) were major issues at
          the Kokomo office with people in the parking lot conducting drug deals and
          discussing how they were going to sell their medications. Additionally,
          [Patient] stated that patients were not being seen by the doctor at the Kokomo
          practice. [Patient] identified Dr. Bangura as the Kokomo doctor and claimed
          that he had only been seen by her one time in a year. Per [Patient], once
          inside the office, patients paid $80, obtained their prescriptions from an old
          lady at the front desk, and “you are pushed out the door.” According to
          [Patient], prescriptions were pre-signed by either Dr. Bangura or Dr. Ley.

   (PC Aff. ¶ 24). Some former patients expressed similar concerns, explaining that no

   exams or tests were performed at the clinics. (PC Aff. ¶¶ 28, 29, 30). DEA Surveillance

   of all four clinics confirmed many of these allegations. (See PC Aff. ¶¶ 39, 42, 43, 49,

   59, 74, 75, 76).

          D.     Undercover Officers and Arrests

          Whisenand decided to enlist the help of undercover officers upon the

   recommendation of Andre Miksha, one of the state prosecutors. (Filing No. 184-28,

   Deposition of Andre Miksha (“Miksha Dep.”) at 30:10 – 31:3). Miksha felt that a

   firsthand account from inside was needed in order to prosecute the case. (See id.). On

   February 13, 2014, DEA obtained an order from Magistrate Judge Tim Baker of the

                                               10
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 11 of 25 PageID #: 5924



   United States District Court for the Southern District of Indiana authorizing the use of

   undercover agents. (See Filing No. 159-13, Application and Order for Use of Undercover

   Agents).

          On March 25, 2014, two DEA special agents posed as new patients at the Carmel

   office. (PC Aff. ¶ 104; see also Filing No. 159-30, Ex. B, Undercover Videos, 3/25/14

   video). Cassy Bratcher, the office director, greeted the agents and told them to complete

   some paperwork. (See 3/25/14 video). She then directed the agents into a conference

   room. (Id.). Dr. Ley entered the room and discussed addiction treatment for about an

   hour. (See id.; see also PC Aff. ¶ 104). During the next hour, Dr. Ley questioned the

   patients in front of one another, asking what types of drugs they were taking, what doses

   they were taking, and whether they had any conditions causing pain. (See 3/25/14 video).

   At the end of the second hour, Dr. Ley prescribed Suboxone for “chronic pain/pain

   management” and directed the agents to the front to pick up their prescription. (PC Aff. ¶

   104). The clinic charged the agents three-hundred dollars ($300) for the office visit and

   prescription. (Id.). Dr. Ley also gave them the contact number for “Andrew” and

   assigned the agents to the Noblesville office for future appointments. (Id.).

          The use of undercover agents for initial visits continued at the Carmel clinic, and

   the reports were the same: Dr. Ley conducted a two-hour group discussion; he did not

   conduct a physical exam or a comprehensive interview of any patient; and each patient

   left the clinic with a prescription of Suboxone after paying three-hundred dollars. (Id. ¶¶

   105, 106, and 107).



                                               11
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 12 of 25 PageID #: 5925



          The undercover agents then reported to the various clinics for follow up

   appointments and corroborated many of the earlier findings in the investigation. The

   appointments generally spanned a very short time. (Id. ¶ 108 (Centerville - four minutes

   and forty-five seconds); ¶ 109 (Kokomo - thirteen minutes); ¶ 111 (Noblesville - four

   minutes); ¶ 114 (Carmel - under two minutes); ¶ 117 (Muncie - four minutes)). The

   agents received another prescription of Suboxone without being evaluated by a doctor.

   (E.g. id. ¶ 109). Many prescriptions had been pre-signed, and no doctors were present at

   the facility. (E.g. id. ¶ 108). The reasons for an additional prescription often changed

   without explanation—for example, one agent received a prescription of Suboxone for

   “dependency” even though his initial prescription was for “pain management”. (E.g. id.

   at ¶ 116). Other than a urine screening, no physical exam was ever conducted. (E.g. id.).

          DEA retained two medical doctors to give their opinions on Dr. Ley and DORN.

   (Whisenand Dep. 289:25 – 290:10; 293:16 – 24; see also PC Aff. ¶¶ 137 – 144). Dr. Tim

   E. King, a pain expert and practicing anesthesiologist, opined that it was unrealistic for a

   doctor to treat 80-100 patients in a three-hour period, and he stated it was highly

   unconventional to assume that one doctor could perform an initial pain or addiction

   evaluation and then assign the patient to another doctor for exclusive Suboxone

   treatment. (PC Aff. ¶ 139). Upon reviewing the tapes, Dr. King explained that the clinic

   was run as a “pill mill” and the controlled substances were not issued for a legitimate

   purpose or in the usual course of practice. (PC Aff. ¶ 140). Dr. R. Andrew Chambers, an

   associate professor of psychiatry at the Indiana University School of Medicine and

   practicing addiction treatment doctor, echoed Dr. King’s opinions, saying it is unusual to

                                                12
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 13 of 25 PageID #: 5926



   treat that volume of patients in that amount of time, and it was not normal for one doctor

   to conduct an initial evaluation and then “farm out” the subsequent ones. (PC Aff. ¶

   143). He too opined that the DORN clinic was an illegal dealing operation and stated

   that the physicians involved had “conspired to use their professional authorities and

   reputations, and the cover of medical practice an authority, to maximize financial gains at

   the expense of clinical standards.” (Id. ¶ 144).

          Whisenand prepared a probable cause affidavit for all DORN staff. (Filing No.

   159-1, Whisenand Declaration at ¶ 14). Whisenand filed the affidavit in Hamilton

   County and Howard County. (Id.). Prosecutors reviewed the affidavit and agreed the

   affidavit supported charges against all DORN employees. (Miksha Dep. 72:4 – 13; 73:8

   – 25). Both Judges from Hamilton Superior Court and Howard Superior Court examined

   the affidavit and found that probable cause existed to charge all DORN employees with

   conspiracy to commit dealing in a controlled substance and corrupt business influence.

   (See PC Aff. at 57, Attachment A, Summary of Individual Criminal Liability; see e.g.

   Filing No. 159-22, Order Finding Probable Cause as to Larry Ley). 3 Law enforcement

   arrested Plaintiffs on July 24, 2014. (Whisenand Dec. ¶ 14).

          E.      Post-Arrest Proceedings

          Each Plaintiff filed a motion to dismiss the charges, arguing that the evidence was

   insufficient as a matter of law. The results varied. The Howard Superior Court denied


   3
     The court has only cited to one order here. The other orders for each individual Plaintiff can be
   found at Filing Nos. 159-23 (Vierk), -24 (Bangura), -25 (Agapios), -51 (Mackey), -52
   (Callahan), -53 (Dollard), -54 (Eric Ley), -55 (Morgan) -56 (Tislow), -57 (Reid), and -58
   (Bratcher).
                                                   13
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 14 of 25 PageID #: 5927



   Mackey’s motion to dismiss. (See e.g. Filing No. 159-51, Order Denying Motion to

   Dismiss at 4 – 9). The Hamilton Superior Court granted the non-physicians’ motions to

   dismiss but denied the physician’s motions to dismiss. (Miksha Dep. 89:15 – 91:7). The

   Wayne Superior Court granted Morgan’s motion to dismiss—a decision that the Indiana

   Court of Appeals ultimately reversed. State v. Y.M., 60 N.E.3d 1121, 1128 (Ind. Ct. App.

   2016).

            The state then proceeded to a bench trial against Dr. Ley. After denying a Rule 41

   motion for insufficiency of evidence, the court ultimately acquitted Dr. Ley of all

   charges. (Ley Dep. 189:24 – 190:1). The court found that the State had not shown a

   knowing and intentional violation of a standard of professional conduct, and so the state

   had failed to prove beyond a reasonable doubt that the prescriptions were issued outside

   the usual course of professional medical procedure. (Filing No. 182-8, Trial Transcript at

   1373:14 – 24). After Dr. Ley was acquitted, the prosecutors dismissed the rest of the

   charges. (Miksha Dep. at 100:13 – 19).

            The plaintiffs then all filed suit in this court. The physicians are the plaintiffs in

   Ley et al. v. Whisenand et al., 1:16-cv-01908-RLY-MJD; and the non-physician

   employees are the plaintiffs in Tislow et al. v. Whisenand et al., 1:16-cv-01721-RLY-

   MJD. Plaintiffs Vierk, Bangura (physicians), Tislow, Morgan, Bratcher, Mackey,

   Callahan, and Reid (non-physicians) (collectively the “Vierk Plaintiffs”) bring federal

   claims of false arrest, malicious prosecution, and civil conspiracy against Defendants.

   Plaintiffs Ley, Agapios (physicians), Eric Ley, and Dollard (non-physicians) bring



                                                   14
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 15 of 25 PageID #: 5928



   federal claims of false arrest, malicious prosecution, civil conspiracy, and municipal

   liability under Monell as well as state law claims for false arrest and conspiracy. 4

   II.    Legal Standard

          Summary judgment is appropriate where there is no genuine dispute as to any

   material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ.

   P. 56(a). The court reviews the evidence and draws all reasonable inferences from it in

   the light most favorable to the non-moving party. Potts v. City of Lafayette, Ind., 121

   F.3d 1106, 1110 (7th Cir. 1997) (citation omitted). Irrelevant factual disputes do not

   preclude an entry of summary judgment in favor of the moving party. Id.

   III.   Discussion

           Before going further, a little housekeeping is in order. The Vierk Plaintiffs agree

   to the dismissal of any claims purportedly brought under the Fifth or Fourteenth

   Amendment. (See Filing No. 181, Vierk Plaintiffs’ Response Brief at 57). 5 They also do

   not assert any conspiracy claim under Section 1983, Brady claim or Monell claim. (Id.).

   Accordingly, the Vierk Plaintiffs’ remaining claims are (1) false arrest and malicious

   prosecution against Whisenand, the United States, and Dietz; (2) false arrest, false

   imprisonment, and malicious prosecution against the City of Carmel under Indiana law;

   and conspiracy under 42 U.S.C. § 1985 against all Defendants. (See Filing No. 148,

   Vierk Plaintiffs’ Statement of Claims).


   4
     There are two groups of plaintiffs within each case represented by different counsel. The
   different groups of plaintiffs appear to have different claims despite the existence of a
   consolidated amended complaint.
   5
     An almost identical brief was filed in 1:16-cv-1908. (Filing No. 177).
                                                  15
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 16 of 25 PageID #: 5929



          With respect to the Ley Plaintiffs, their claims are less clear. Defendants are

   entitled to judgment on any Monell claim. 6 The same goes for any due process claims

   under the Fifth and Fourteenth Amendments. 7 Therefore, the court can discern only the

   following remaining claims: (1) false arrest and malicious prosecution against the United

   States, (2) false arrest, false imprisonment, and malicious prosecution against the City of

   Carmel, and (3) false arrest, malicious prosecution, and conspiracy against Dietz and

   Whisenand. (See Filing No. 147, Ley Plaintiffs’ Statement of Claims). 8

          Turning to the merits, probable cause is an absolute defense under federal and

   state law to claims of false arrest, false imprisonment, and malicious prosecution. Law

   enforcement had probable cause to arrest and charge all twelve plaintiffs under Indiana

   law. Even in the absence of probable cause, the individual officers had “arguable

   probable cause,” and so they are entitled to qualified immunity.




   6
     The complaint and statement of claims make no mention of a Monell claim, and the allegations
   in the complaint are not consistent with a Monell theory. Rowlands v. United Parcel Service –
   Fort Wayne, 901 F.3d 792, 800 (7th Cir. 2018) (noting a plaintiff is required under Rule 8 to
   include enough to give defendants fair notice of the claims). Even if a Monell claim was pled,
   the Ley Plaintiffs forfeited any argument by failing to develop it more than two short paragraphs
   in their brief. Haley v. Kolbe & Kolbe Millwork Co., 863 F.3d 600, 612 (7th Cir. 2017).
   7
     The Ley plaintiffs did not respond to Whisenand’s arguments for dismissal, and they did not
   develop any argument in support of these claims. Haley, 863 F.3d at 612.
   8
     To the extent that the Ley Plaintiffs sought to pursue other claims, those are forfeited for failing
   to clearly develop them.
                                                    16
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 17 of 25 PageID #: 5930



          A.     There was Probable Cause to Arrest Plaintiffs

          A warrant ordinarily shields officers from liability for an illegal arrest. Olson v.

   Tyler, 771 F.2d 277, 281 (7th Cir. 1985). However, “a warrant does not erect an

   impenetrable barrier to impeachment of a warrant affidavit.” Id. (citing Franks v.

   Delaware, 438 U.S. 154 (1977)). An officer who lies or makes materially false

   representations in the warrant request violates the Fourth Amendment if probable cause

   would not have been otherwise established. Betker v. Gomez, 692 F.3d 854, 860 (7th Cir.

   2012). Likewise, an officer who intentionally or recklessly withholds material

   information from a probable cause affidavit violates the Fourth Amendment.

   Rainsberger v. Benner, 913 F.3d 640, 647 (7th Cir. 2019) (citation omitted). Where, as

   here, the plaintiffs allege the affidavit contained false statements and omitted material

   information, the court must “eliminate the alleged false statements, incorporate any

   allegedly omitted facts, and then evaluate whether the resulting “hypothetical” affidavit

   would establish probable cause.” Betker, 692 F.3d at 862 (citations omitted).

          Probable cause exists when the facts and circumstances known to law enforcement

   “‘are sufficient to warrant a prudent person in believing that the suspect had committed’

   an offense.” Mustafa v. City of Chicago, 442 F.3d 544, 547 (7th Cir. 2006) (quoting

   Kelley v. Myler, 149 F.3d 641, 646 (7th Cir. 1998)); see also Woods v. City of Chicago,

   234 F.3d 979, 996 (7th Cir. 2000). The bar for probable cause is low: all that is required

   is a fair probability that a suspect has committed a crime. Id. (explaining probable cause

   requires more than bare suspicion but there need not be evidence sufficient to support a

   conviction or even a showing that the officer’s belief is more likely true than false); Fox

                                                17
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 18 of 25 PageID #: 5931



   v. Hayes, 600 F.3d 819, 833 (7th Cir. 2010) (noting it does not take much to establish

   probable cause); see also United States v. Brown, 857 F.3d 334, 339 (6th Cir. 2017).

          The test is an objective one: an officer’s motives or subjective intentions do not

   matter. Mustafa, 442 F.3d at 547 (citation omitted); see also Simmons v. Pryor, 26 F.3d

   650, 654 (7th Cir. 1993) (“Even malicious motives will not support a claim of false arrest

   if probable cause exists.”). Only those facts that the officers knew or reasonably believed

   at the time of the arrest factor into the equation. See Mustafa, 442 F.3d at 547. When the

   underlying facts are not disputed, the existence (or absence) of probable cause is a

   question of law for the court. Potts, 121 F.3d at 1112.

          Probable cause is an absolute defense to claims of false arrest, false imprisonment,

   and malicious prosecution. Mustafa, 442 F.3d at 547 (citing Potts, 121 F.3d at 1113); Ali

   v. Alliance Home Health Care, LLC, 53 N.E.3d 420, 431 – 33 (Ind. Ct. App. 2016) (same

   under Indiana law).

          The affidavit more than establishes probable cause. It is undisputed that one of

   Dr. Ley’s patients died, and the wife of the Deceased expressed concerns about Dr. Ley’s

   treatments. (PC Aff. ¶ 20). Other addiction doctors expressed concerns too: one said that

   Dr. Ley was prescribing suboxone “for pain” because the off-label use allowed him to

   skirt the one-hundred patient limit set by DATA, and another expressed concern that the

   practice was set up for cash, not for medical treatment. (PC Aff. ¶¶ 25 – 27). At least

   one pharmacy refused to fill prescriptions from DORN, and former patients explained

   that they were able to get a Suboxone prescription by paying $300 cash without any

   medical exam whatsoever. (PC Aff. ¶¶ 21, 30, 31). INSPECT records showed DORN

                                                18
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 19 of 25 PageID #: 5932



   physicians prescribed an unusually high amount of Suboxone and correspondingly earned

   a high amount of income from those prescriptions. (See e.g. PC Aff. ¶ 38). Two retained

   doctors expressed the opinion that the Suboxone prescriptions were not issued for a

   legitimate medical purpose nor were they issued in the usual course of a medical practice.

   (PC Aff. ¶¶ 140, 144).

           Plaintiffs likewise do not seriously dispute the undercover surveillance or the

   numerous observations about the practice: patients were seen for an initial interview in a

   conference room for two hours and then received a Suboxone prescription for three-

   hundred dollars. No physical examination was conducted, and all prescriptions were paid

   for in cash. At follow-up appointments, patients obtained a Suboxone prescription

   without ever seeing or being examined by a doctor—some appointments lasting as few as

   two to four minutes. DORN support staff handed out prescriptions at times when no

   doctor was present; the physicians had pre-signed many of these prescriptions. 9

          All this combined would warrant a reasonable person standing in the officers’

   shoes to believe that DORN and its employees prescribed Suboxone without a legitimate

   medical purpose and outside the usual course of the professional practice. See 856 Ind.

   Admin. Code 2-6-3(a). And that is all that is needed. Law enforcement do not need a

   foolproof or absolute belief—just a reasonable one. Considering the evidence, it was

   reasonable for law enforcement to conclude that the prescriptions were not “valid” and




   9
    Of course, Plaintiffs dispute the significance of these facts, i.e. whether they amount to a crime.
   But there is no genuine dispute as to what happened.
                                                   19
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 20 of 25 PageID #: 5933



   DORN and its employees were conspiring to deal a controlled substance in violation of

   Indiana law. See Ind. Code § 35-48-4-2; Alarcon, 573 N.E.2d at 480.

          Plaintiffs put forward several arguments to show probable cause does not exist.

   First, they argue they were actually providing good medical care, and the prescriptions

   were issued with a legitimate medical purpose. (See Vierk Plaintiffs’ Response at 27 –

   34; Filing No. 183, Ley Plaintiffs’ Response Brief at 37 – 40). For example, they argue

   DORN patients were required to fill out medication and drug-pain histories, doctors do

   not necessarily have to perform physical examinations when treating addiction patients,

   each patient was provided an appropriate dose of Suboxone and corresponding tapering

   schedule, and all the undercovers signed paperwork, promising to attend counseling. But

   that evidence goes towards their defense, not the lack of probable cause. See Alarcon,

   573 N.E.2d at 480 (citing Tobias v. State, 479 N.E.2d 508 (Ind. 1985)) (“[T]he writing of

   a valid prescription by a licensed physician is an absolute defense to a charge of dealing

   in a controlled substance.”) (emphasis added); Spiegel v. Cortese, 196 F.3d 717, 724

   (1999) (“Many putative defendants protest their innocence, and it is not the responsibility

   of law enforcement officials to test such claims once probable cause has been

   established.”). Plaintiffs’ guilt or innocence is not the relevant issue before the court—

   probable cause is—and that evidence does not negate the presence of probable cause

   established by the other facts. United States v. Funches, 327 F.3d 582, 587 (7th Cir.

   2003) (noting alternative explanations are often helpful but do not necessarily negate

   probable cause); United States v. Reed, 443 F.3d 600, 603 (7th Cir. 2006) (“Subsequent

   evidence of guilt cannot validate the probable cause determination, nor can evidence of

                                                20
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 21 of 25 PageID #: 5934



   innocence invalidate it.”); United States v. Osborn, 120 F.3d 59, 62 – 63 (7th Cir. 1997)

   (noting the validity of an arrest does not depend on whether the suspect actually

   committed the crime).

          Second, Plaintiffs argue the affidavit includes a laundry list of allegedly “false”

   statements. 10 (See Vierk Plaintiffs’ Response Brief at 34 – 37; Ley Plaintiffs’ Response

   Brief at 31 – 36). For example, the affidavit repeatedly explains that many undercover

   officers “received a Suboxone prescription . . . in exchange for $80.00 [or $300] cash.”

   (PC Aff. ¶ 109(a)). Plaintiffs argue that statement is false because the fee structure was

   three-hundred dollars for initial entry into the program, and then forty-dollars per week

   for continued treatment, not per prescription. However, that statement and the rest of

   those cited by Plaintiffs are not false—just characterizations with which Plaintiffs

   disagree. Officers are not expected to be legal technicians. The evidence supports

   Whisenand’s characterizations, and so, they are not materially false, even if Plaintiffs

   were able to explain otherwise at trial. Suarez v. Town of Ogden Dunes, Ind., 581 F.3d

   591, 597 (7th Cir. 2009) (holding statements were not materially false when they were

   supported by an ample basis).



   10
      Many of these “false” statements are not actually false when considered in context. For
   example, Plaintiffs argue “Mr. Whisenand admitted that the claims that Dr. Ley did not interview
   the undercover officers as part of their initial visit were false.” (Ley Plaintiffs’ Brief at 34).
   However, Whisenand stated that under his definition of “interview,” no patients were
   interviewed because there was no one-on-one private exchange as in other medical practices. He
   agreed that under Plaintiffs’ counsel’s definition—sitting down with a group and answering
   questions—the patients were interviewed. (Whisenand Dep. 97:2 – 100:21). This sort of
   disagreement over semantics is hardly a “false statement,” especially when considering probable
   cause is based on the totality of the affidavit, not a line-by-line, hypertechnical interpretation.
   See Brown, 857 F.3d at 339.
                                                   21
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 22 of 25 PageID #: 5935



          Third, Plaintiffs argue that Whisenand omitted several pieces of important

   information that would have changed the probable cause calculus. (Vierk Plaintiffs’

   Brief at 35 – 40; Ley Plaintiffs’ Briefs at 36 – 38). For example, Whisenand did not

   include the fact that DEA presented the case to the federal prosecutors, and they declined

   to prosecute saying it was not a “provable” case. Whisenand also failed to include, as

   Plaintiffs argue, that DORN screened all undercover officers at follow up appointments,

   and even kicked several out who did not follow the terms of the program. But these

   omissions—even if true—do not negate the presence of the probable cause. The patient

   complaints, professional complaints, undercover video and surveillance, and expert

   opinions were sufficient to establish probable cause. Spiegel, 196 F.3d at 724. 11

          Lastly, the nonphysicians argue the officers lacked probable cause as to them

   because they could not have known that DORN physicians were prescribing outside the

   course of their professional practice. But their knowledge is a question of fact for a jury,

   not for the officers to determine. Spiegel, 196 F.3d at 724; Y.M., 60 N.E.3d at 1126

   (reversing trial court’s dismissal of charges against nonphysician in this case because

   nonphysician’s knowledge is a question for the jury). The affidavit sufficiently describes


   11
     Plaintiffs’ list of alleged omissions is problematic for other reasons too. Many of the
   omissions relate to law enforcement’s motivations for investigating and prosecuting Plaintiffs.
   For example, Plaintiffs argue Miksha explained in a memo to Whisenand that the goal was to
   F**k DORN. (Ley Plaintiffs’ Brief at 51). Putting aside the fact that Miksha is not a defendant,
   the subjective motivations of law enforcement are not relevant to whether probable cause exists.
   Mustafa, 442 F.3d at 547. Other omissions relate to the good treatment provided by DORN,
   which, for reasons already explained, is relevant to Plaintiffs’ defense, not the absence of
   probable cause. Spiegel, 196 F.3d at 724 – 25. Lastly, Plaintiffs allege that the two experts are
   not credible, but credibility is a matter for a jury to resolve, not law enforcement. Id. at 725
   (“The credibility of a putative victim or witness is a question, not for police officers in the
   discharge of their considerable duties, but for the jury in a criminal trial.”) (citation omitted).
                                                   22
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 23 of 25 PageID #: 5936



   acts as to each nonphysician that, when accompanied with the requisite knowledge, could

   support a conviction, much less a finding of probable cause. (PC Aff. at 63 – 70); see

   also Y.M., 60 N.E.3d at 1126. Accordingly, the nonphysicians’ separate arguments are

   equally unpersuasive.

          B.     Even in the Absence of Probable Cause, Dietz and Whisenand are
                 Entitled to Qualified Immunity

          The doctrine of qualified immunity protects law enforcement officers who make

   reasonable mistakes. See Mustafa, 442 F.3d at 548. Qualified immunity applies unless

   the plaintiff can show the officer violated a federal statutory or constitutional right, and

   that right was clearly established at the time of the incident. Kisela v. Hughes, 138 S. Ct.

   1148, 1156 (2018); McComas v. Brickley, 673 F.3d 722, 725 (7th Cir. 2012). In the

   context of a wrongful arrest, a right is not clearly established if law enforcement had

   “arguable probable cause” to arrest the plaintiff. Id.; see also Rainsberger, 913 F.3d at

   652. “Arguable probable cause exists when a reasonable officer could mistakenly have

   believed that he had probable cause to make the arrest.” McComas, 673 F.3d at 725

   (citation omitted); Fox, 600 F.3d at 833 (noting qualified immunity applies to

   government officials who reasonably but mistakenly conclude probable cause exists to

   make an arrest).

          Even if probable cause did not exist, the officers had “arguable probable cause” to

   arrest Plaintiffs. The Alarcon court held that a physician who prescribes controlled

   substances without any legitimate medical purpose may be criminally liable. Alarcon,

   573 N.E.2d at 481; see also Y.M., 60 N.E.3d at 1125. For reasons already explained


                                                 23
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 24 of 25 PageID #: 5937



   above, the officers reasonably concluded DORN prescribed Suboxone without any

   legitimate medical purpose, even if that belief was ultimately mistaken. Whisenand and

   Dietz are therefore entitled to qualified immunity.

          C.     Plaintiffs Conspiracy Claims Fail as a Matter of Law

          Because law enforcement had probable cause to arrest Plaintiffs for conspiracy to

   deal controlled substances, Plaintiffs’ claims for civil conspiracy under Sections 1983 and

   1985 fail as a matter of law. Gill v. City of Milwaukee, 850 F.3d 335, 342 (7th Cir. 2017)

   (holding conspiracy claims fail as a matter of law where the officers had probable cause

   to arrest the plaintiff). The Vierk Plaintiffs’ claims under Section 1985 also fail because

   there is no evidence of any racial or actionable class-based animus. See Munson v.

   Friske, 754 F.2d 683, 694 – 96 (7th Cir. 1985).

   IV.    Conclusion

          For the reasons stated above, Defendants’ motions for summary judgment are

   GRANTED. With respect to case number 1:16-cv-01721-RLY-MJD, Dietz and the City

   of Carmel’s motion (Filing No. 151) is GRANTED, Whisenand’s motion (Filing No.

   159) is GRANTED, and the United States’ motion (Filing No. 162) is GRANTED. The

   motion to strike (Filing No. 200) is DENIED as MOOT.

          With respect to case number 1:16-cv-01908-RLY-MJD, Dietz and the City of

   Carmel’s motion (Filing No. 148) is GRANTED, Whisenand’s motion (Filing No. 154)

   is GRANTED, and the United States’ motion (Filing No. 157) is GRANTED. The




                                                24
Case 1:16-cv-01908-RLY-MJD Document 212 Filed 03/08/19 Page 25 of 25 PageID #: 5938



   motion to strike (Filing No. 198) is DENIED AS MOOT. Final judgment shall issue by

   separate order.



   SO ORDERED this 8th day of March 2019.




   Distributed Electronically to Registered Counsel of Record.




                                              25
